Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 1 of 16




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  HOWARD MICHAEL CAPLAN,

                 Plaintiff,

                 vs.

  HI TECH CHASSIS BODY AND PAINT
  INC., a Florida Profit Corporation and
  KARH PROPERTIES LLC, a Florida
  Limited Liability Company,

              Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff, HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the undersigned

  counsel, hereby files this Complaint and sues HI TECH CHASSIS BODY AND PAINT INC.

  (“HI TECH”) and KARH PROPERTIES LLC (“KARH PROPERTIES”) (hereinafter,

  collectively referred to as “Defendants”) for declaratory and injunctive relief; for discrimination

  based on disability; and for the resultant attorney's fees, expenses, and costs (including, but not

  limited to, court costs and expert fees) pursuant to 42 U.S.C. §12181 et. seq. ("AMERICANS

  WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:



  JURISDICTION
  1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C. §12181 et. seq., based on

  the Defendants’ violations of Title III of the Americans with Disabilities Act of 1990,

  (hereinafter referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202.



                                                  1
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 2 of 16




  VENUE
  2.      The venue of all events giving rise to this lawsuit is located in Broward County, Florida.

  Pursuant to 28 U.S.C. §1391(B) and Rule 3.1 of Local Rules of the United States District Court

  for the Southern District of Florida, this is the designated court for this suit.



  PARTIES
  3.      Plaintiff, HOWARD MICHAEL CAPLAN, is a resident of the State of Florida. At the

  time of Plaintiff’s visit to Hi Tech Chassis Body & Paint (“Subject Facility”), Plaintiff suffered

  from a “qualified disability” under the ADA, which substantially limits Plaintiff’s major life

  activities, including but not limited to walking, and requires the use of a mobility aid. Plaintiff

  personally visited Hi Tech Chassis Body & Paint, but was denied full and equal access, and full

  and equal enjoyment of the facilities, services, goods, and amenities within Hi Tech Chassis

  Body & Paint, which is the subject of this lawsuit. The Subject Facility is an auto repair, and

  Plaintiff wanted to inquire about their services but was unable to due to the discriminatory

  barriers enumerated in Paragraph 15 of this Complaint.



  4.      In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN, is an advocate of the rights

  of similarly situated disabled persons and is a “tester” for the purpose of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation are in

  compliance with the ADA.



  5.      The Defendants, HI TECH and KARH PROPERTIES, are authorized to conduct business

  and are in fact conducting business within the State of Florida. The Subject Facility is located at

  160 SW 5th Street, Pompano Beach, FL 33060. Upon information and belief, HI TECH is the



                                                     2
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 3 of 16




  lessee and/or operator of the Real Property and therefore held accountable of the violations of the

  ADA in the Subject Facility which is the matter of this suit. Upon information and belief, KARH

  PROPERTIES is the owner and lessor of the Real Property where the Subject Facility is located

  and therefore held accountable for the violations of the ADA in the Subject Facility which is the

  matter of this suit.



  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT


  6.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 5 of this

  complaint, as are further explained herein.



  7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act ("ADA"), 42

  U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendants had ten (10) or fewer employees and

  gross receipts of $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).



  8.      As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found, among other

  things, that:

          i. some 43,000,000 Americans have one or more physical or mental disability, and this
            number shall increase as the population continues to grow and age;

          ii. historically, society has tended to isolate and segregate individuals with disabilities
             and, despite some improvements, such forms of discrimination against disabled
             individuals continue to be a pervasive social problem, requiring serious attention;

          iii. discrimination against disabled individuals persists in such critical areas as
             employment, housing, public accommodations, transportation, communication,
             recreation, institutionalization, health services, voting and access to public services and

                                                    3
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 4 of 16




           public facilities;

         iv. individuals with disabilities continually suffer forms of discrimination, including:
           outright intentional exclusion; the discriminatory effects of architectural, transportation,
           and communication barriers; failure to make modifications to existing facilities and
           practices; exclusionary qualification standards and criteria; segregation, and regulation
           to lesser services, programs, benefits, or other opportunities; and,

         v. the continuing existence of unfair and unnecessary discrimination and prejudice denies
           people with disabilities the opportunity to compete on an equal basis and to pursue
           those opportunities for which this country is justifiably famous and costs the United
           States billions of dollars in unnecessary expenses resulting from dependency and non-
           productivity.

  9.     As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated that the

  purpose of the ADA was to:

         i. provide a clear and comprehensive national mandate for the elimination of
           discrimination against individuals with disabilities;

         ii. provide clear, strong, consistent, enforceable standards addressing discrimination
            against individuals with disabilities; and,

         iii. invoke the sweep of congressional authority, including the power to enforce the
            fourteenth amendment and to regulate commerce, in order to address the major areas of
            discrimination faced on a daily basis by people with disabilities.

  10.    Pursuant to 42 U.S.C. §12181(7) and 28 CFR §36.104, Title III, no individual may be

  discriminated against on the basis of disability with regards to the full and equal enjoyment of

  the goods, services, facilities, or accommodations of any place of public accommodation by any

  person who owns, leases (or leases to), or operates a place of public accommodation. Hi Tech

  Chassis Body & Paint is a place of public accommodation by the fact it is an establishment that

  provides goods/services to the general public, and therefore, must comply with the ADA. The

  Subject Facility is open to the public, its operations affect commerce, and it is a service

  establishment. See 42 U.S.C. Sec. 12181(7) and 28 C.F.R. 36.104. Therefore, the Subject

  Facility is a public accommodation that must comply with the ADA.



                                                   4
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 5 of 16




  11.     The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at Hi Tech Chassis Body &

  Paint located at 160 SW 5th Street, Pompano Beach, FL 33060, as prohibited by 42 U.S.C.

  §12182 and 42 U.S.C. §12101 et. seq.; by failing to make reasonable modifications in policies,

  practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and by failing to remove

  architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  12.     Plaintiff has visited the Subject Facility and has been denied full, safe, and equal access

  to the facility and therefore suffered an injury in fact.



  13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and enjoy the goods

  and/or services at the Subject Facility within the next six months. The Subject Facility is in close

  proximity to Plaintiff’s residence and is in an area frequently travelled by Plaintiff. Furthermore,

  Plaintiff will also return to monitor compliance with the ADA. However, Plaintiff is precluded

  from doing so by the Defendants' failure and refusal to provide people with disabilities with full

  and equal access to their facility. Therefore, Plaintiff continues to suffer from discrimination and

  injury due to the architectural barriers, which are in violation of the ADA.



  14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

  Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

  requirements of the ADA. The ADA Accessibility guidelines (hereinafter referred to as

  “ADAAG”), 28 C.F.R. Part 36, may cause violators to obtain civil penalties of up to $55,000 for



                                                     5
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 6 of 16




  the first violation and $110,000 for any subsequent violation.



  15.      The Defendants are in violation of 42 U.S.C. §12181 et. seq. and 28 C.F.R. 36.302 et.

  seq. and are discriminating against Plaintiff with the following specific violations which Plaintiff

  personally encountered and/or has knowledge of:

        a) The customer parking facility in front of the auto body repair shop does not provide a

           compliant accessible parking space. 2010 ADA Standards 502.1

        b) The business has parking in front of the main office entrance. One (1) compliant

           accessible parking space with adjacent access aisle is required. 2010 ADA Standards

           208.2

        c) If a total of 4 or fewer parking spaces (inaccessible and accessible) are provided on a site,

           the required accessible space does not have to be identified by a sign (i.e., reserved

           exclusively for use of people with disabilities) (§216.5, Ex. 1). However, all other

           requirements for spaces, including access aisles, still apply. 2010 ADA Standards 216.5

        d) There is no compliant access aisle attached to an accessible route serving any existing

           parking space which would allow safe entrance or exit of vehicle for accessible persons

           requiring mobility devices. 2010 ADA Standards 502.2

        e) The parking facility does not provide directional and informational signage to a

           compliant accessible parking space. 2010 ADA Standards 216.5

        f) There is no compliant access aisle attached to an accessible route serving any existing

           parking space which would allow safe entrance or exit of vehicle for accessible persons

           requiring mobility devices. 2010 ADA Standards 502.2

        g) There is currently no existing accessible route to help persons with disabilities enter the

           facility or safely maneuver through the parking area. At least one accessible route must

                                                     6
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 7 of 16




           be provided within the site from accessible parking spaces and accessible passenger

           loading zones; public streets and sidewalks; and public transportation stops to the

           accessible building or facility entrance they serve. 2010 ADA Standards 206.2.1

        h) The outside building entrance is non-compliant. There is a non-compliant change in level

           at the outside entrance door threshold. Changes in level of 1/4 inch (6.4 mm) high

           maximum shall be permitted to be vertical. 2010 ADA Standards 303.2

        i) The outside entrance does not have the required maneuvering clearances. There is a

           parking stop in front of the door. The required clear maneuvering area in front of the

           entrance door is too small. A main entrance door requires a minimum 60-inch-wide level

           landing to allow persons with mobility issues to safely enter the building. Maneuvering

           clearances must extend the full width of the doorway and the required latch side of 18

           inches side clearance. Having a landing that is too small at the entrance can prevent

           access by a person using a wheelchair, walker, or cane and can make entry difficult for

           many other people with mobility disabilities. 2010 ADA Standards 404.2

        j) At time of inspection there was a dumpster in front of the main office doorway further

           blocking the entrance. 2010 ADA Standards

        k) The facility does not provide compliant directional and informational signage to an

           accessible route which would lead to an accessible entrance. Where not all entrances

           comply, compliant entrances must be identified by the International Symbol of

           Accessibility. Directional signs that indicate the location of the nearest compliant

           entrance must be provided at entrances that do not comply. 2010 ADA Standards 216.6



  16.      Upon information and belief there are other current violations of the ADA at Hi Tech



                                                   7
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 8 of 16




  Chassis Body & Paint which Plaintiff would encounter but for the discriminatory barriers in

  paragraph 15 which prevent Plaintiff’s access to such additional violations. An inspection can

  identify all such violations which would be encountered by Plaintiff if the discriminatory barriers

  in Paragraph 15 did not prevent Plaintiff’s access to them. Accordingly, a complete list of

  violations which are discriminatory to Plaintiff will require an on-site inspection by Plaintiff’s

  representatives pursuant to Rule 34b of the Federal Rules of Civil Procedure.



  17.    Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers

  and violations is readily achievable and technically feasible. To date, the readily achievable

  barriers and other violations of the ADA still exist and have not been remedied or altered in such

  a way as to effectuate compliance with the provisions of the ADA.



  18.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the Defendants

  were required to make the establishment a place of public accommodation, accessible to persons

  with disabilities by January 28, 1992. As of this date, the Defendants have failed to comply with

  this mandate.



  19.    Plaintiff has been obligated to retain the undersigned counsel for the filing and

  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and

  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.



  20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  injunctive relief, including an Order to alter the subject facilities to make them readily accessible



                                                   8
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 9 of 16




  and useable by individuals with disabilities to the extent required by the ADA, closing the

  Subject Facility until the requisite modifications are completed, entering an Order directed at

  maintenance and future compliance, and entering an Order for the Defendants to make

  reasonable modifications in policies, practices, or procedures.



                              COUNT I - DECLARATORY RELIEF


  21.    Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  22.    The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at the Subject Facility, as

  prohibited by 42 U.S.C. §12182 and 42 U.S.C. §12101 et. seq.; by failing to make reasonable

  modifications in policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and

  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  23.    By failing to remove the architectural barriers set forth in paragraph 15, by failing to

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices such as set forth in paragraph 15(j), and by failing to ensure compliance with the

  mandates of the ADA, the Defendants have discriminated and continue to discriminate against

  Plaintiff by denying access to, and full and equal enjoyment of goods, services, facilities,

  privileges, advantages and/or accommodations at the Subject Facility.




                                                   9
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 10 of 16




  24.     Unless declared that the Subject Facility owned, operated and/or controlled by the

  Defendants is in violation of the ADA, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court declare that the Subject Facility owned, operated, and/or controlled by the

  Defendants is in violation of Title III of the ADA and award reasonable attorney's fees, all costs

  (including, but not limited to court costs and expert fees), and other expenses of suit, to Plaintiff.



     COUNT II - INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL BARRIERS


  25.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  26.     By failing to remove the architectural barriers set forth in paragraph 15, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  27.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject


                                                    10
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 11 of 16




  Facility by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  28.     Injunctive relief requiring the Defendants to remove the architectural barriers set forth in

  paragraph 15 is necessary to make the Subject Facility accessible to and usable by individuals

  with disabilities to the full extent required by Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to alter the Subject Facility and remove

  architectural barriers to make the Subject Facility accessible to and usable by individuals with

  disabilities to the full extent required by Title III of the ADA, and award reasonable attorney's

  fees, all costs (including, but not limited to court costs and expert fees) and other expenses of

  suit, to Plaintiff.



        COUNT III - INJUNCTIVE RELIEF TO MODIFY POLICIES, PRACTICES AND
                                            PROCEDURES


  29.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  30.     By failing to make reasonable modifications in policies, practices, or procedures to

  address discriminatory practices such as set forth in paragraph 15(j) and to ensure compliance

  with the mandates of the ADA, the Defendants have discriminated and continue to discriminate

  against Plaintiff by denying access to, and full and equal enjoyment of goods, services, facilities,

  privileges, advantages and/or accommodations at the Subject Facility.



                                                   11
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 12 of 16




  31.    Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to make reasonable modifications in policies, practices, or procedures pursuant

  to 42 U.S.C. §12182(b)(2)(A)(ii).



  32.    Injunctive relief requiring the Defendants to make reasonable modifications in policies,

  practices, or procedures to address discriminatory practices such as set forth in paragraph 15(j) is

  necessary to make the Subject Facility accessible to and usable by individuals with disabilities to

  the full extent required by Title III of the ADA.



         WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to evaluate, neutralize, and modify

  their policies, practices, and procedures as are necessary to make the Subject Facility accessible

  to and usable by individuals with disabilities to the full extent required by Title III of the ADA,

  and award reasonable attorney's fees, all costs (including, but not limited to court costs and

  expert fees) and other expenses of suit, to Plaintiff.



             COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  33.    Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  34.    By failing to remove the architectural barriers set forth in paragraph 15, by failing to


                                                      12
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 13 of 16




  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices such as set forth in paragraph 15(j), and by failing to ensure compliance with the

  mandates of the ADA, the Defendants have discriminated and continue to discriminate against

  Plaintiff by denying access to, and full and equal enjoyment of goods, services, facilities,

  privileges, advantages and/or accommodations at the Subject Facility.



  35.    Even if the Defendants remove the architectural barriers set forth in paragraph 15, and

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices such as set forth in paragraph 15(j), it is clear that the Defendants will fail to maintain

  compliance with the ADA by allowing physical alterations to revert back into noncompliance

  and by failing to enforce any modifications in policies, practices, or procedures.



  36.    Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to maintain compliance with the ADA by allowing physical alterations to

  revert back into noncompliance and by failing to enforce any modifications in policies, practices,

  or procedures.



  37.    Injunctive relief requiring the Defendants to maintain compliance is necessary to make

  the Subject Facility accessible to and usable by individuals with disabilities to the full extent

  required by Title III of the ADA.




                                                   13
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 14 of 16




          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to maintain the alterations and

  modifications required to keep the Subject Facility accessible to and usable by individuals with

  disabilities and in compliance with Title III of the ADA, and award reasonable attorney's fees, all

  costs (including, but not limited to court costs and expert fees) and other expenses of suit, to

  Plaintiff.




  Dated this June 18, 2024.


  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
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  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




                                                  14
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 15 of 16




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  HOWARD MICHAEL CAPLAN,

                Plaintiff,

                vs.

  HI TECH CHASSIS BODY AND PAINT
  INC., a Florida Profit Corporation and
  KARH PROPERTIES LLC, a Florida
  Limited Liability Company,

              Defendants.
  _______________________________/

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 18, 2024, I electronically filed the Complaint along
  with a Summons for each Defendant with the Clerk of Court using CM/ECF. I also certify that
  the aforementioned documents are being served on all counsel of record, corporations, or pro se
  parties identified on the attached Service List in the manner specified via Service of Process by
  an authorized Process Server, and that all future pleadings, motions and documents will be
  served either via transmission of Notices of Electronic Filing generated by CM/ECF or via U.S.
  Mail for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  THE ADVOCACY LAW FIRM, P.A.
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  Attorney for Plaintiff HOWARD MICHAEL CAPLAN




                                                 15
Case 0:24-cv-61057-AHS Document 1 Entered on FLSD Docket 06/18/2024 Page 16 of 16




                                       SERVICE LIST:

   HOWARD MICHAEL CAPLAN, Plaintiff, vs. HI TECH CHASSIS BODY AND PAINT INC.,
     a Florida Profit Corporation and KARH PROPERTIES LLC, a Florida Limited Liability
                                          Company

                    United States District Court Southern District of Florida

                                           Case No.


  HI TECH CHASSIS BODY AND PAINT INC.

  REGISTERED AGENT:

  NERSISSIAN, KRIKOR
  160 S.W. 5TH STREET
  POMPANO BEACH, FL 33060

  VIA PROCESS SERVER


  KARH PROPERTIES LLC

  REGISTERED AGENT:

  BEGGS, WILLIAM F.
  160 SW 5TH STREET
  POMPANO BEACH, FL 33060

  VIA PROCESS SERVER




                                               16
